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                   EXHIBIT B
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                                                                                                                              PHARMACY DATA LAYOUT
                                                               Number of       Number of       Number of       Number of        Number of       Total amount Total amount Total amount Total amount Total amount Total amount Total amount Total amount Total amount Total amount
                                                              prescriptions   prescriptions   prescriptions   prescriptions    prescriptions     billed for all   billed for all   billed for all   billed for all   billed for all   paid for all     paid for all     paid for all     paid for all     paid for all
    NDC                            DRUG NAME
                                                              submitted in    submitted in    submitted in    submitted in     submitted in    prescriptions in prescriptions in prescriptions in prescriptions in prescriptions in prescriptions in prescriptions in prescriptions in prescriptions in prescriptions in
                                                                  2015            2016            2017            2018             2019              2015             2016             2017             2018             2019            2015             2016             2017             2018             2019
007270C2417 3P PANE CODEINE
007270C2475 3P PANE CODEINE
00727014025 3P RONCAP
12071000601 A.B.C. COMPOUND W/CODEINE
12071000605 A.B.C. COMPOUND W/CODEINE
00102307501 A.B.C. W/CODEINE
49727019302 A.B.C. W/CODEINE
52406091701 A.B.C. W/CODEINE
52446000221 A.B.C. W/CODEINE
00779061525 A.P.C. W/BUTALBITAL & CODEINE
00081035655 A.P.C. W/CODEINE
00081035675 A.P.C. W/CODEINE
00081036955 A.P.C. W/CODEINE
00081036975 A.P.C. W/CODEINE
00359054450 A.P.C. W/CODEINE
00359054550 A.P.C. W/CODEINE
00580003910 A.P.C. W/CODEINE
35470001401 A.P.C. W/CODEINE
35470037501 A.P.C. W/CODEINE
35470390001 A.P.C. W/CODEINE
00002311202 A.S.A. & CODEINE COMPOUND
00002311203 A.S.A. & CODEINE COMPOUND
00002311302 A.S.A. & CODEINE COMPOUND
00002406702 A.S.A. & CODEINE COMPOUND
00002406703 A.S.A. & CODEINE COMPOUND
51728054701 ABC # 3
51728054705 ABC #3
00157074901 ABC COMPOUND W/CODEINE
00157074905 ABC COMPOUND W/CODEINE
00172480260 ABC COMPOUND W/CODEINE
00172480270 ABC COMPOUND W/CODEINE
52446000201 ABC COMPOUND W/CODEINE
00948559801 ABC W/CODEINE
00879064801 ABC/CODEINE #2
00879064805 ABC/CODEINE #2
00879064701 ABC/CODEINE #3
00879064705 ABC/CODEINE #3
42358010032 ABSTRAL
42358020032 ABSTRAL
42358030032 ABSTRAL
42358040032 ABSTRAL
42358060032 ABSTRAL
42358080032 ABSTRAL
42747022104 ABSTRAL
42747022132 ABSTRAL
42747022204 ABSTRAL
42747022232 ABSTRAL
42747022304 ABSTRAL
42747022332 ABSTRAL
42747022404 ABSTRAL
42747022432 ABSTRAL
42747022604 ABSTRAL
42747022632 ABSTRAL
42747022804 ABSTRAL
42747022832 ABSTRAL
57881033104 ABSTRAL
57881033132 ABSTRAL
57881033204 ABSTRAL
57881033232 ABSTRAL
57881033304 ABSTRAL
57881033332 ABSTRAL
57881033404 ABSTRAL
57881033432 ABSTRAL
57881033604 ABSTRAL
57881033632 ABSTRAL
57881033804 ABSTRAL
57881033832 ABSTRAL
25332106604 ACETACO (Acetaminophen/Codeine Phosphate)
48253015701 ACETAMINOPHEN         W/COD
48253015801 ACETAMINOPHEN         W/COD
47202256803 ACETAMINOPHEN (Acetaminophen/Codeine Phosphate)
66267000284 ACETAMINOPHEN AND CODEINE PHOSPHATE
66267000290 ACETAMINOPHEN AND CODEINE PHOSPHATE
